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          SUPREME                 COURT             OF THE               STATE            OF NEW                 YORK
          COUNTY              OF QUEENS
          _______________________________________.._________________________Ç
          STAR         AUTO            SALES           OF BAYSIDE,                       INC.         (d/b/a                                           Index         No.:
          STAR         TOYOTA                 OF BAYSIDE),                       STAR            AUTO
          SALES          OF QUEENS,                    LLC            (d/b/a         STAR        SUBARU),                                              SUMMONS
          STAR         HYUNDAI                  LLC          (d/b/a       STAR          HYUNDAI),
          STAR        NISSAN,                 INC    (d/b/a           STAR           NISSAN),                                                          Plaintiffs            designate
          METRO             CHRYSLER                   PLYMOUTH                         INC.                                                           Queens            County               as the place
                                                                                                                                                                                                Plaintiffs'
          (d/b/a      STAR          CHRYSLER                     JEEP          DODGE),                                                                 of trial,         based           on
          STAR         AUTO            SALES           OF QUEENS                       COUNTY                  LLC                                     residence             in Queens                 County
          (d/b/a      STAR          FIAT),          and       STAR             AUTO          SALES             OF
          QUEENS             VILLAGE                 LLC         (d/b/a         STAR            MITSUBISHI),


                                                                         Plaintiffs,


                                        -against-



          ROSENFIELD                      & COMPANY,                       PLLC,


                                                                        Defendant.
          _________________________________________________________________Ç



          TO THE             ABOVE              NAMED                  DEFENDANT:


                       YOU             ARE      HEREBY                   SUMMONED                         to answer             the        complaint            in    this    action             and    to serve


          a copy       of    your         answer,         or,    if the        complaint              is not        served          with     this      summons,               to    serve         a notice            of


                                               plaintiffs'
          appearance              on    the                            attorney          within         twenty          (20)        days      after      the     service            of    this     summons,


          exclusive          of     the       day    of      service           (or     within         thirty        (30)     days          after      the      service         is    complete                 if    this



          summons            is not        personally             delivered             to      you     within        the      State        of     New       York);          and         in    case      of        your


          failure      to appear           or answer,            judgment               will      be taken           against          you        by   default         for    the     relief        demanded


          in the      complaint.


                       The        basis       of the      venue          designated              in the        County          of     Queens          is the         residence            of     Plaintiffs.


          Dated:        Lake        Success,           New        York

                        May       25,      2023




                                                                                                                       Jamie          S. Felsen,            Esq.




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                                                    Joseph       M.     Labuda,          Esq.
                                                    Milman        Labuda          Law      Group        PLLC
                                                    Attorney          for   Plaintiffs
                                                    3000       Marcus        Avenue,            Suite   3W8
                                                    Lake       Success,        New       York       11042

                                                    (516)      328-8899
                                                    jamie@mllaborlaw.com
                                                    joe@mllaborlaw.com




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          SUPREME              COURT              OF THE               STATE               OF       NEW YORK
         COUNTY              OF QUEENS                      -
                                                                 COMMERCIAL                           DIVISION
         ________________----
                                      ______________------______---________________Ç
         STAR         AUTO          SALES            OF BAYSIDE,                           INC.       (d/b/a                                          Index         No.:
         STAR         TOYOTA    OF BAYSIDE),                                   STAR               AUTO
         SALES          OF QUEENS,  LLC (d/b/a                                    STAR            SUBARU),                                            VERIFIED                       COMPLAINT
         STAR         HYUNDAI               LLC            (d/b/a         STAR         HYUNDAI),
         STAR         NISSAN,           INC        (d/b/a           STAR          NISSAN),
         METRO              CHRYSLER                 PLYMOUTH                         INC.
         (d/b/a     STAR         CHRYSLER                        JEEP        DODGE),
         STAR         AUTO          SALES            OF QUEENS                        COUNTY                  LLC
         (d/b/a     STAR         FIAT),           and       STAR            AUTO             SALES             OF
         QUEENS             VILLAGE                LLC           (d/b/a       STAR            MITSUBISHI),


                                                                      Plaintiffs,


                                    -against-



         ROSENFIELD                  & COMPANY,                             PLLC,


                                                                      Defendant.
         ---------._____.----------------------------------_____------____Ç




                      Plaintiffs,          Star      Auto           Sales      of     Bayside,             Inc.      d/b/a     Star     Toyota              of    Bayside,              Star     Auto       Sales


         of   Queens,         LLC       d/b/a        Star        Subaru,            Star      Hyundai              LLC       d/b/a      Star        Hyundai,              Star       Nissan,       Inc      d/b/a


         Star     Nissan,       Metro         Chrysler               Plymouth                Inc.     d/b/a         Star     Chrysler           Jeep         Dodge,              Star     Auto      Sales          of


         Queens         County          LLC          d/b/a          Star      Fiat,         and      Star         Auto       Sales      of     Queens               Village             LLC       d/b/a       Star


         Mitsubishi           (collectively                 hereinafter               the         "Star       Auto         Group"),            by      and         through              their     attorneys,


         Milman            Labuda         Law         Group           PLLC            ("MLLG"),                     complaining                of     the        Defendant,               Rosenfield               &


         Company,            PLLC         ("Rosenfield"),                    allege          as follows:


                                                                             NATURE                   OF THE               CLAIMS


                      1.            Star      Auto         Group           brings          this     Complaint              against      Rosenfield                 for    (1)        breach      of contract


         dated      April     20,    2017;           (2)        breach       of     contract              dated      May       25,    2017;           (3)        breach         of    implied           contract




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          dated       May           25,      2017;          (4)     breach             of     quasi-contract                        dated       May        25,      2017/promissory                   estoppel;         (5)


         breach            of    contract           dated         March           8, 2019;                 and        (6)     fraudulent             misrepresentation.


                                                                                                                 PARTIES


                           2.               Rosenfield                  is a Florida               limited             liability         company            with       its principal       place        of business


          in   Orlando,              Florida.           In    addition                 to    its        office         located           in   Orlando,           Florida,         Rosenfield            also      has     an


         office       in New                York,      New          York.


                           3.                Star     Auto         Sales      of Bayside,                        Inc.,      is a New            York       corporation             with   its principal            place


         of    business             located           in Bayside,                 New          York.


                           4.                Star     Auto         Sales          of        Queens,              LLC          is a New           York        limited         liability     company              with      its


         principal              place        of     business             located             in Bayside,                    New       York.


                           5.                Star     Hyundai              LLC              is a New             York          limited        liability          company           with   its principal            place



          of business               located           in Bayside,                 New          York.


                           6.                Star     Nissan,             Inc.,        is a New                   York            corporation             with      its   principal        place        of     business



          located           in Bayside,               New          York.


                           7.                Metro        Chrysler                Plymouth                   Inc.        is a New             York        corporation             with    its   principal          place



          of     business            located          in Queens              Village,                   New           York.


                           8.                Star     Auto          Sales         of        Queens               County             LLC       is a New             York      limited      liability           company


          with      its     principal             place       of        business             located             in      Queens          Village,          New       York.



                           9.                Star     Auto          Sales         of        Queens               Village            LLC       is a New             York      limited      liability           company


          with       its        principal           place          of     business                 in     Queens              Village,          New         York.         Star     Auto     Sales        of     Queens



          Village           LLC         ceased         operations                 in or around                        2011.




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                                                                                                             VENUE

                          10.           Venue            for    this      action              in                                                                                          Plaintiffs'
                                                                                                    Queens           County            is appropriate                   because                                   principal


         place       of    business             is in Queens                   County.



                                                                                    FACTUAL                     ALLEGATIONS


                          11.           In       2016,           Michael                  Koufakis               ("Koufakis"),                         a    principal              of       Star        Auto         Group,


          discovered             that      Vivian           Karouzakis                   ("Karouzakis"),                      an office           manager/controller                            of     several          of    Star


         Auto        Group's            dealerships,                was        embezzling                 money             from          Star     Auto         Group.


                          12.           On April               4,    2017,           Karouzakis                  was        arrested             for       embezzlement                       and      related           crimes


          discovered             solely         by     Star      Auto           Group.


                          13.           After          Karouzakis                    was           arrested,           Star       Auto           Group           uncovered                    another          fraudulent


          scheme          created          by     Karouzakis                   and       informed              the     District           Attorney's                  office       about         same          on April             7,


          2017.


                          14.           On or around                   April             12, 2017,           Star      Auto        Group           uncovered                   additional            thefts       that       were


          committed              by     Despina             Theocharis                   ("Theocharis"),                    another          office           manager/controller                          of     Star        Auto



          Group,          and     at the        suggestion                of    counsel,              Star      Auto          Group         decided             to hire           a forensic            accountant                  to



          identify         each         scheme              undertaken                   by        Karouzakis               and        Theocharis                to      embezzle                and      uncover              the


          extent      ofthe        embezzlement                     for        each       scheme             in anticipation                 of litigation                and      to assist           in the      criminal


          prosecution             against             these      former             employees                and       any        other      perpetrators                  to these            schemes.


                          15.           A       few     days        later,          on    or about             April        18,     2017,         Star        Auto        Group           hired         Rosenfield.


                          16.            Star        Auto       Group           retained              Rosenfield                 based      on Rosenfield's                        statements             that      (1)       they


          have       over        twenty              (20)      years           of        experience               in       the     automotive                   industry                and      (2)     Rosenfield's



          managing              partner,         Ken          Rosenfield,                 had        a purported                 ownership                 interest        and/or           financial            interest           in


          an automotive                 dealership               prior         to creating              Rosenfield                 &      Company,                PLLC.




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                       17.             Notably,              from       in    or      around             November                  3, 2017          until        in     or     around           April        17,      2020,


         Rosenfield             was         Star        Auto        Group's             accountant                                                                                                          and          work
                                                                                                                    performing                   tax,       accounting                 services,


         related       to New              York         State       sales      tax      audits           under            a separate             agreement.                  The      instant           lawsuit           does


         not     involve        any        of Rosenfield's                   work           regarding              tax,                                 services,            and      work       related          to New
                                                                                                                             accounting


         York       State      sales        tax     audits.


         The       4/20/17          Rosenfield                Contract


                       18.             Star        Auto         Group         repeats             and      realleges               each      and        every         allegation              contained              in      the



         preceding            Paragraphs,                 as if fully          set forth               herein.


                       19.             In     or       around         April           20,        2017,           Star      Auto           Group          entered             into      an      agreement                  with


         Rosenfield            under          which            Rosenfield               agreed            to     provide            forensic            accounting                  services         to     Star         Auto



         Group        ("4/20/17              Rosenfield               Contract")                  to     support            Star      Auto         Group's              anticipated               civil         litigation


         against       these        former             employees.


                       20.             The         4/20/17           Rosenfield                   Contract                states      that       Rosenfield's                   customary                 practice              in


         these      types      of engagements                       is to receive                a retainer             in the      amount          of $50,000.00                     before         commencing


         work.


                       21.             The         4/20/17           Rosenfield                  Contract               does        not      identify           any          hourly          rates        and      merely


         states      its     fees     for     these        services            will         be    $35,000.00                  per         week      with        at least             four      highly           qualified


         staff     working           a full        working           week.


                       22.             The         4/20/17          Rosenfield                Contract             states          that    the     services             Rosenfield              provides             in this



         engagement                 will      be        "conducted                 in       accordance                    with        consulting                standards               established                 by       the



         American             Institute           of    Certified            Public          Accountants".


                       23.             The         4/20/17          Rosenfield                Contract              further          states,       inter        alia,        that:




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                                       a.          It is "anticipated                                                                                                                                  months"
                                                                                            that      the         engagement                    could          take      as long           as 2                           and       any


                                               travel            costs          will      be waived;


                                       b.      Rosenfield                    will         issue       bills        pursuant                to     this        engagement                   on      at least         a monthly


                                               basis;            and


                                       c.      Rosenfield                        will        prepare               written               reports               when            necessary                 to       support             its



                                               conclusions;


                        24.            The         4/20/17              Rosenfield                  Contract             provides                that        "[Star       Auto            Group]           have         requested



         [Rosenfield's]                professional                       forensic           accounting                   services               with         respect          to    the         employee               theft       that


         occurred             at the        Star     Automotive                          Group        dealerships.                   [Rosenfield]                      will        prepare          schedules               [...]     to


         assist      in determining                  the         amount                of theft       loss.        [Rosenfield]                      will      also      perform             a test        for    accuracy            of



         the      balance        sheet         accounts                   and       to     conduct            an     internal              control             study          of    both         the     accounting                 and



         computer              systems.              [...]         [Rosenfield]                      shall         undertake                    no          work        under            this      agreement                    unless


                                                                                                                  Group]."
         specifically            requested              to do             so by          [Star      Auto


                        25.            Star        paid          the      $50,000.00                retainer          on April                  24,      2017         which         was         to be applied               toward



         payment            of Rosenfield's                       final         invoice           in connection                     with         this        engagement.



                        26.            Rosenfield                      issued            invoices            to    Star           Auto      Group               on     May          3,     8,     15     and      22      of     2017



                              $126,000.00                    -    but                                         discounted                   to                                       for         services          rendered               in
         (totaling                                                          subsequently                                                          $106,000.00)


         connection             with         forensic             accounting                  as specified                   in    the     4/20/17                 Rosenfield              Contract              that     were        all



         paid      by    Star     Auto         Group.


                        27.            Rosenfield                      improperly                applied           the       $50,000.00                     retainer          and     never            returned          it to Star



          Auto       Group.


          The      5/25/17        Rosenfield                      Contract




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                          28.                In or around                 May       25,      2017,           Rosenfield                    and         Star     Auto                        terminated                    the    4/20/17
                                                                                                                                                                              Group


         Rosenfield                   Contract             and         entered       into        an       oral      agreement                     to     provide              the      same          forensic             accounting


         services          described                 in Paragraph                  ¶ 24 but            now          on      an hourly                   basis       ("5/25/17               Rosenfield                    Contract").


                          29.                Thereafter,                  later      in     2017,            Star          also           requested                 Rosenfield                   to     perform                  forensic


         accounting                   services            vis-à-vis,             Voynow,              Bayard,              Whyte              &        Company                 LLP        ("Voynow").


                          30.                Star         Auto         Group         paid         approximately                           $400,000.00                        under        the         5/25/17             Rosenfield


         Contract.



                          31.                On April               17, 2020,             Star     Auto           Group              terminated                  the         5/25/17        Rosenfield                    Contract.


         Rosenfield                   breaches               its    Contracts               with          Star        Auto            Group


                          32.                Initially,            Rosenfield               breached                 the       4/20/17                 Rosenfield                   Contract            when              it    failed        to


                                                             week"                                                                                                                        staff"
         work       a "full             working                              and     failed           to provide                    "four        highly           qualified                             as required                   under



         the     4/20/17              Rosenfield                 Contract.


                          33.                Rosenfield                  also     breached             the        4/20/17              Rosenfield                   Contract              by       improperly                   applying


         the     $50,000.00                   retainer             and     never          returned           it to Star               Auto          Group.


                          34.                Moreover,                  Rosenfield               failed          to perform                 forensic             accounting                 services             in accordance



          with      the     terms            of     both         the     4/20/17           and        5/25/17              Rosenfield                    Contracts               as described                   in    Paragraph                  ¶


          24.


                          35.                Rosenfield                  breached           these         contracts                 by,     inter        alia,         (i)    excessively               and          unreasonably



          billing         Star        Auto        Group            for     its    services;           (ii)       failing            to perform                the       forensic           accounting                  work           it was



          obligated              to    perform              under          these      contracts;                  and       (iii)         billing         for       work            not   requested                  by        Star      Auto



          Group.


                          36.                Despite               paying            Rosenfield                     approximately                             $500,000.00                       in      total          under             both



          contracts,             the     forensic                accounting               work         performed                     by     Rosenfield                   was         of   such         a poor             quality         that




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          Star     Auto      Group        cannot      use        or                on                 of    Rosenfield's                     work         and         caused             Star     Auto
                                                                       rely                any                                                                                                              Group          to


          retain     other     forensic         accountants                  to    perform                 the       work         that     Rosenfield                   failed           to                       but     for
                                                                                                                                                                                                perform,


          which      Rosenfield           was      paid.


                      37.            Specifically,              Rosenfield                 breached                  its contracts                by:


                                                                                        schedules"
                                     a.    Failing         to "prepare                                               as required                under        both           contracts;

                                                                                                                                                                                                     accounts"
                                     b.    Failing         to    perform                any        "tests            for     accuracy              of     the        balance              sheet                            as


                                           required         under            both         contracts;


                                     c.    Failing         to      "conduct                   an      internal               control            study           of     both          the         accounting              and


                                                                 systems"
                                           computer                                     as required                   under         both        contracts;

                                                                                                                                         theft"
                                     d.    Failing         to     determine                    "the         amount                of                      against             by         Star     Auto        Group's


                                           employee              as required                  under          both           contracts;


                                     e.    Failing         to     uncover                 new          schemes                   committed                by         Star      Auto             Group's           former


                                           employees              (which             were          later         uncovered);


                                     f.    Failing         to document                    and      determine                  the      extent       of damages                     for    schemes           Star    Auto



                                           Group           uncovered                     on        their          own            about            which              Star      Auto              Group        notified



                                           Rosenfield;


                                     g.    Overbilling                for     a search                for    a contractor                    to    help         access            the      data     on     Star     Auto


                                           Group's                                tapes        -   without
                                                            backup                                                         any    results;


                                     h.    Failing         to produce                a competent                      report           or make            conclusions;


                                     i.    Failing          to     have            dealership                    management                       software              from             The       Reynolds              and


                                           Reynolds               Company                     installed                on        computers                 Rosenfield's                         employees               used


                                                                                                                                    "experts"
                                           despite         representing                   themselves                   to be                               in the           automotive              industry;            and


                                     j.    Performing                 work         not        specifically                  requested              to be done                by      Star        Auto      Group.




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                     38.            Whenever                Rosenfield               provided                a report          to     Star       Auto                          the     reports           contained
                                                                                                                                                             Group,


          numerous         errors        and      issues.         Rosenfield's                most           recent          report        was        provided            to    Star         Auto                          on
                                                                                                                                                                                                          Group


          December         4, 2019         which         contained               numerous                   errors      and         issues           such     as:


                                    a.     Incorrectly                 stating       that     every                                             check        between            Star        Toyota          and        Star
                                                                                                              intercompany


                                          Nissan                 was         fraudulent                     despite             Rosenfield's                        knowledge                     that           certain



                                           intercompany                    checks            were         legitimate;


                                    b.     Incorrectly                 identifying            fraudulent                schemes;

                                                                                                                                                                                               accounts"
                                    c.     Stating          there        was     theft        from          Star      Auto       Group's               "factory          incentive                                      but



                                           failing          to     discover           either           of     the      two      (2)        schemes             actually              committed                  by     Star


                                           Auto        Group's               former           employee,                    Carmen               Jones         ("Jones"),               out        of     this        same



                                           account,              for    which         Star         Auto       Group           sued         Jones;


                                    d.     Incorrectly                 stating        that     there           were          "several            suspicious              transactions                    that        could


                                                                                                                                                             activity"
                                           result      in approximately                        $206,180.00                    of fraudulent                                      related            to employee


                                           advances.               Whereas             the     first         report        Rosenfield                 provided            to    Star         Auto         Group            on


                                           June      2, 2017             contains            the     same          exact       sentence,              evidencing               a copy-and-paste                         job


                                           with      poor          attention          to detail;


                                                                                                                                                      payment"
                                    e.     Incorrectly                 stating       that      "there              is no      record            of                         by        Star      Auto         Group's


                                           former           employee,                Theocharis,                    receiving              an    employee                advance             of     $30,000.00,


                                           despite          Star         Auto        Group           providing                Rosenfield                with         a $25,000.00                      check          from


                                           Theocharis                  to Star       Auto          Group,             along         with        a corresponding                      journal           entry;


                                    f.     Incorrectly                 stating       that     Star          Auto       Group's             current           employee,               Jacqueline                 Cutillo,


                                           obtained              a vehicle           through                a general           journal              entry       while         not      identifying                  other


                                           former           employees                who       did        in fact       have         general           journal        entries           corresponding                        to




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                                           their       vehicle              purchase-other                           than         Jones          which            was                                   brought               to
                                                                                                                                                                               originally


                                           Rosenfield's                attention                by     Star        Auto        Group;


                                   g.                    to provide                            additional              detail       in Rosenfield's                       December
                                           Failing                                   any                                                                                                           4, 2019          report


                                                                "vehicle                                                                                                                                      receipts"
                                           regarding                                  sales          to employees                   with         no     documentation                       of cash


                                           despite       mentioning                      the        same       information                 in its June              2, 2017              report;


                                   h.      Incorrectly               stating          that          there       are       vendor           numbers                with        more          than       one         vendor


                                           assigned            but         failing             to     specifically                 identify             any        vendors,                including               Nissan


                                           Motors        and         Staples,            both         of which              had    two          separate          vendor            numbers.            (Star          Auto



                                           Group         notified               Rosenfield                  about         embezzlement                        schemes               engaged             in     by        their


                                           former        employees                   that       Star        Auto        Group           uncovered                 involving                these     vendors               but


                                           Rosenfield              still        failed         to include              them        in     its    December                 4, 2019            report);


                                   i.      Failing        to     include                 several             embezzlement                        schemes             in       its    December                  4,      2019


                                           report      which           Star       Auto              Group       previously                 notified           Rosenfield,                  including,              but     not



                                           limited        to,        a Star           Subaru                embezzlement                        scheme             involving                warranty                claims



                                           replacing             customer                   deposits.                 (This         embezzlement                          scheme              was            originally


                                           mentioned             in        a report             by     Rosenfield                 dated          May       29,      2018,            but     was        completely


                                           omitted        from             Rosenfield's                     December               4, 2019             report);           and



                                   j.      Identifying             several            embezzlement                          schemes             that     were       not,        in fact,       embezzlement



                                           schemes.


                      39.          As      another        example                of the             poor      quality          of Rosenfields                      work,            on    January            24,     2020,


          a private         investigator             retained              by     MLLG                 met         with         Ken        Rosenfield                    at    Rosenfields                    office             in


                                                                                                                                                                                                     Theocharis'
          Orlando,          Florida.        During          this           meeting,                  Rosenfield                 provided               specific               details         of



          improper          conduct.       On January                 26,        2020,          the        private          investigator               sent       a recap            email         to Rosenfield




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         and      Star      Auto      Group            outlining                 what        was           discussed                                the                             on                                   2020.           One
                                                                                                                                during                      meeting                       January               24,


         specific         issue       included               in    the       January                 26,     2020          email            was          that        Rosenfield                 stated          that        that        from



         approximately                   2014        to 2017,             cash            was        being        stolen        from          Metro              Chrysler               Plymouth                Inc.        d/b/a        Star


                                                                                                                                                                                                                                        day"
         Chrysler           Jeep      Dodge's                ("Star             Chrysler")                 bank         deposits              "every             day         and        sometimes                 twice            a


         Rosenfield             had        billed         tens      of       thousands                 of    dollars            in     an effort                to        support         that         this     theft         occurred


         and      reconfinned                to the         private             investigator                 that       this     theft        was          occurring                   each      day          during          this      time


         period.         Rosenfield              claimed             that        its primary                 evidence                that     this        scheme,                in fact,        occurred               "every            day

                                                             day"
         and      sometimes                twice        a                 over            a period           of     years            was      its        examination                     and        analysis            of     the       Star


         Chrysler's             "cash        boards".              However,                     Rosenfield                never             bothered                 to    examine               the      primary              banking


         and      dealership             accounting                 files,           specifically                the    "edit          lists".           Had         Rosenfield                 taken          this      basic          step,


         Rosenfield             would           have         seen        the         precise          amount            consisting                  of     not        only        cash,        but       checks             and        credit



         cards,       coming          into         Star      Chrysler                 was       in    fact       deposited               every            day        in     Star       Chrysler's                bank         account.



         When         the      private          investigator                    presented               details         of     Rosenfield's                      allegations                   to      Star      Auto          Group's



         office       manager,              she       was         able          to     respond              to    the      private            investigator                       the     next          day      with          evidence



         completely              debunking                  Rosenfield's                    allegation.


                         40.             The        allegations                 contained               in the         above          paragraphs                     are only            a few          of many              examples



         showing            how       the      4/20/17            and           5/25/17              Rosenfield                Contracts                 were             breached             by      Rosenfield,                   and        is


                                                                                                                                                                                                                                  parties'
         by    no     means           an     exhaustive                  list        of     Rosenfield's                   extensive                 failures               to     perform              under           the



         agreements.


                         41.             Many          of     Rosenfield's                      invoices            state       that         certain            work             was     performed,                   but      in a vast



          majority          of cases,           there        is no        documentation                           to support                that     this        work            was      actually              done.




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                          42.              Star        Auto          Group                relied       on       Rosenfield's                       expertise             as    forensic              accountants                 in     the


         automotive                 industry                and,         in     good        faith,         paid         all        invoices           Rosenfield                issued          to     Star      Auto         Group


         arising          out    of the          4/20/17             and            5/25/17          Rosenfield                    Contracts.


                          43.              Once            Star      Auto            Group           learned            that        the     work       performed                            Rosenfield            was        so poor
                                                                                                                                                                                 by


         that      Star     Auto       Group                could             not     use     or rely           on      any        of this         work,         Star     Auto                         retained            and        paid
                                                                                                                                                                                        Group


         other      forensic           accountants                       to do work                that     Rosenfield                    failed      to perform                but      for    which           it had       already


         been       paid        to perform.


                          44.              Star            Auto          Group              relied         on         embezzlement                          schemes              Rosenfield                   uncovered                  by


         including              them            in     lawsuits                Star       Auto         Group               filed          against          their        former              accountant             and        former


         employees               which               Star     Auto              Group          has        now        learned               were       not        embezzlement                     schemes,                including


         but     not      limited          to,       the     schemes                 Rosenfield              identified                   involving              employees              with         multiple          employee


         identification                numbers                 and            involving            general            journal              entries         for     Star       Chrysler.


                          45.           Based                on      the            above          allegations,                    Rosenfield                breached                 the      4/20/17           and        5/25/17


         Rosenfield              Contracts                   and         engaged              in   fraud          for      which             Star     Auto         Group              is entitled         to damages                     for


         excessive              monies                paid          to        Rosenfield                  and        all       consequential                      damages               incurred           as      a      result          of



         Rosenfield's                failure               to perform                 under         the     contracts                and      all     available            remedies              at law.


          Breach           of    Contract                   Dated              March           8, 2019


                          46.              Star        Auto          Group             repeats            and        realleges               each      and         every         allegation              contained               in     the



         preceding              Paragraphs,                   as if fully               set forth           herein.



                          47.              In        or around                March           8, 2019,            Star         Auto          Group          entered            into      another          agreement                   with



          Rosenfield             ("3/8/19                  Rosenfield                 Contract").


                          48.              The             3/8/19             Rosenfield                  Contract                 does        not         cover          any         work           related         to      a        legal



          proceeding                Star         Auto             Group             commenced                     against             Voynow                in     the        United           States          District          Court




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         Eastern          District          of     New          York       (Case         No.:            18-cv-5775)                 ("Voynow                                                                              on
                                                                                                                                                            Litigation")                 commencing


         December                1, 2017.


                        49.               Under          the      3/8/19          Rosenfield                     Contract,             Star         engaged              Rosenfield                     to     provide


         "investigation,                  prosecution,             litigation          support              services,           and     expert        testimony                 inclusive               of     working


         with        Milman           Labuda            Law       Group          PLLC            [...]         with       respect       to     any        and     all     schemes               committed                     or


         participated              [in]     by     former         employees               [of       Star        Auto         Group]          including            Douglas              Filardo,               Francine



         Filardo,          Vivian          Karouzakis,                 Despina           Theocharis                    and     Carmen            Jones,          inclusive              of      their         families,

                                                          entities."
         related       persons,            and/or


                        50.               The      hourly         rates        under          the        3/8/19          Rosenfield             Contract                ranged          from            $130.00               to



         $550.00           per     hour;         with     a specific            rate    for     Dan            Jamnik         of     $275.00          per       hour.



                        51.               Rosenfield              never         issued          any            invoice         for     services             performed                  under            the          3/8/19



         Rosenfield               Contract.


                        52.               The     3/8/19         Rosenfield              Contract                states       "[Rosenfield's]                   customary                practice               in    these


                                                                                                                                                                                      work"
          types      of engagements                     is to receive            a retainer              of the        $15,000          before        commencing                                        and      "[T]his



          retainer        will      be billed           against         work         as we          go and            replenished             upon        approval              of    client.



                        53.               Pursuant          to    the     3/8/19         Rosenfield                    Contract,         when          it    was        executed                by      the     parties,


          Star     Auto          Group       paid       a $15,000.00                 retainer            deposit          to Rosenfield.



                        54.               Rosenfield             never      performed                    any      work        covered          by    the     3/8/19           Rosenfield                     Contract.



                        55.               Because           no     work         was       performed                     by    Rosenfield              under             the     3/8/19            Contract,                the



          $15,000          retainer          was        never      used        and     must         be returned                to    Star.



                          56.             Rosenfield             improperly              and         unethically               attempted             to     apply         the        $15,000.00                 retainer



          deposit         to invoices             for    work      Rosenfield                 allegedly               performed          covered             by other            agreements                    between




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         the      parties.         On November                         18,     2019,          Star        Auto          Group,             through         counsel,             notified         Rosenfield               that


         this     was        improper.


                        57.                  On November                   26,    2019,            Rosenfield                 responded                to the     November                 18, 2019         letter        and


         agreed         with       Star         Auto         Group         but     never           returned             the        $15,000.00.


                        58.                  On April             17, 2020,            Star       Auto       Group                 terminated            the     3/8/19          Rosenfield            Contract.


                        59.                  Since         Rosenfield             failed            to    perform                  any      work         covered           by      the     3/8/19        Rosenfield



         Contract,             when            the        agreement              was        terminated                  on         April        17,    2020,        Rosenfield                was      obligated            to


         return        the      $15,000.00                  retainer         deposit          to     Star     Auto            Group.



                        60.                  Star         Auto       Group         has         demanded                  that            Rosenfield              return          the     $15,000.00              unused


         retainer            deposit,          but        Rosenfield             has     failed          to return             it.


                        61.                  Accordingly,               Rosenfield                  breached                 its     contract          with       Star      Auto         Group         causing            Star



         Auto        Group         damages                  of    $15,000.00.


                                                                            FIRST             CLAIM                AGAINST                       ROSENFIELD
                                                                         (Breach               of the         4/20/17                Rosenfield                Contract)


                         62.                 Star     Auto          Group         repeats           and      realleges                   each      and     every          allegation            contained            in    the



         preceding              Paragraphs,                     as if fully       set forth              herein.



                         63.                 Rosenfield              breached               the      4/20/17              Rosenfield                   Contract           with         Star     Auto        Group           by



          overbilling             under             the    contract,          improperly                 applying                  the     $50,000.00             retainer         and        never     returning           it,



          using       failing           to     perform             services            under         the     contract,                   incorrectly            identifying              fraudulent           schemes


          and      billing        for        work         not     requested            by     Star       Auto           Group.



                         64.                 Star     Auto         Group         was        damaged                by    Rosenfield's                    conduct.


                                                                        SECOND                     CLAIM                AGAINST                       ROSENFIELD
                                                                         (Breach               of    the      5/25/17                Rosenfield                Contract)




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                        65.            Star     Auto        Group          repeats            and         realleges              each           and                          allegation             contained               in     the
                                                                                                                                                           every


          preceding           Paragraphs,              as if fully           set forth            herein.


                        66.            Rosenfield            breached               the          5/25/17             Rosenfield                  Contract                     with         Star     Auto          Group            by


         overbilling             under          the      contract,            failing              to        perform               services                under               the         contract,             incorrectly


          identifying           fraudulent             schemes         and        billing           for       work         not      requested                    by      Star        Auto         Group.


                        67.            Star     Auto       Group           was      damaged                   by     Rosenfield's                     conduct.


                                                                  THIRD                 CLAIM                  AGAINST                       ROSENFIELD
                                                            (Breach               of Implied                  Contract                 Dated               May          25,         2017)
                                                                       (In        the     Alternative                      to    Counts               II    and              IV)


                        68.            Star     Auto        Group          repeats            and         realleges              each           and        every             allegation             contained               in    the



         preceding            Paragraphs,               as if fully          set forth            herein.


                        69.            Rosenfield's               assented               to       an      implied-in-fact                        contract                     with         Star     Auto           Group            to



          perform          forensic          accounting           services              in accordance                      with        the       terms            of     both         the      5/25/17           Rosenfield


                                                                                                                                parties'
          Contract         as described               in Paragraph                ¶ 24 based                  on the                              course                of     dealings.



                        70.            Star     Auto       Group           paid     Rosenfield                     in good             faith      and            these         payments                were       done           with



          the     knowledge               of     Rosenfield,                 who          ultimately                     accepted                to        perform                   the       requested             forensic



          accounting             services         for      said      payments.                   Rosenfield                 understood                      it     would              provide            inter      alia,          the



          forensic         accounting            services          described                in     Paragraph                    ¶ 24       in    exchange                     for     the      payments             made            by


          Star    Auto        Group.


                        71.            Rosenfield            breached               the          implied-in-fact                       contract                  with          Rosenfield                by      overbilling


          under      the      contract,        failing      to perform              services                 under         the     contract,               incorrectly                     identifying            fraudulent



          schemes          and     billing       for     work        not     requested                  by     Star       Auto          Group.



                        72.            Star     Auto       Group           was      damaged                   by        Rosenfield's                  conduct.


                                                                  FOURTH                    CLAIM                  AGAINST                       ROSENFIELD
                                      (Breach            of Quasi-Contract                              Dated                                   2017-
                                                                                                                         May        25,                            Promissory                      Estoppel)



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                                                                       (In     the      Alternative              to    Counts             II     and      III)


                       73.            Star       Auto       Group           repeats         and     realleges          each         and                    allegation              contained            in    the
                                                                                                                                               every


          preceding          Paragraphs,                as if fully         set forth        herein.


                       74.           Rosenfield              made        a clear         and       unambiguous                    promise          to     Star        Auto                 to provide
                                                                                                                                                                                 Group


          inter     alia,      the    forensic            accounting              services            described              in    Paragraph                      24     in     exchange              for     the
                                                                                                                                                            ¶


         payments            made      by       Star     Auto        Group.


                       75.            Star       Auto       Group           reasonably             relied      on     this        promise           to    its     detriment           by                      for
                                                                                                                                                                                           paying


         these      services         that      were       ultimately           never        provided           by     Rosenfield.


                       76.           As       a result          of   Star      Auto         Group's           reasonable              and        foreseeable                  reliance,        Star         Auto



          Group       sustained             injuries.


                       77.           For        the      reasons         set     forth         above,          Rosenfield                 is     liable          to    Star       Auto     Group              for


          damages.


                                                                     FIFTH            CLAIM            AGAINST                     ROSENFIELD
                                                                     (Breach           of    the     3/8/19         Rosenfield                 Contract)


                       78.            Star       Auto       Group        repeats            and    realleges           each         and        every       allegation             contained             in    the



         preceding           Paragraphs,                as if fully         set forth        herein.


                       79.            Rosenfield              breached            the       3/8/19          Rosenfield               Contract              with         Star       Auto    Group               by


          failing     to return         the         $15,000.00         deposit.


                       80.            Star      Auto       Group        was       damaged              by    Rosenfield's                 conduct.


                                                                     SIXTH            CLAIM             AGAINST                    ROSENFIELD
                                                                                (Fraudulent                 Misrepresentation)


                       81.            Star       Auto       Group        repeats            and     realleges          each         and        every       allegation              contained            in    the



          preceding          Paragraphs,                as if fully          set forth       herein.



                       82.            As      its    accountant,             Rosenfield             owed        a fiduciary               duty      to Star           Auto       Group.




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                         83.                Rosenfield                 made        material              misrepresentations                             of    fact      to    Star      Auto         Group         regarding


         its    work       and        bills        which          were        made                                          in order            to defraud               or mislead                 Star    Auto      Group.
                                                                                            intentionally


                         84.                Ken         Rosenfield              made            the     following                 fraudulent                 statements:


                                            "       informed               Star       Auto                           that         certain         theft         schemes              occurred              which       did     not
                                                                                                      Group
                                                    occur;         and


                                            "       informed              the      district           attorney,             the     police,           and       Star     that        it would          provide         reports

                                                    proving            that       Star's         employees                  committed                  various           schemes              but     never        providing
                                                    any         such      documentation.


                         85.                These          fraudulent              statements                 were          made           in    reports          Rosenfield                 and      Ken       Rosenfield


         provided            to Star            which           include         but      are not           limited           to on June                2, 2017,              June      8, 2018,            November            21,


         2018,         May       29,        2019,         and      December                   4, 2019;         and


                         86.                These         statements               were          also      made         to Star           by     Ken          Rosenfield               during         meetings          he had


         with         Michael          Koufakis,                 a principle               of    Star,      which            include             but      are     not        limited         to on         September           27,


         2017,         September                   29,     2018,          December                    8, 2017,          June            14,     2018,           December                20,      2018,         February          7,


         2019,         March          27,        2019,          and     November                  13, 2019.


                         87.                Star     Auto         Group            reasonably               relied          on the            misrepresentations                         and        suffered        damages



         as a result            of    its       reliance          on      Rosenfield's                  misrepresentations.



                         88.                Star        Auto       Group           was          damaged            by       Rosenfield's                     conduct.


                                                                                  PRAYER                   FOR          RELIEF


         WHEREFORE,                                Star     Auto          Group          demands              the       following:


                 a.      Judgment                  on     all    claims           against             Rosenfield              in        an amount               to     be established                  at trial       plus     pre



                         and     post-judgment                         interest,           costs,         attorney's               fees,        and       punitive            damages;               and


                 b.      Together                with       such        other         and       further        relief         as the            Court         deems           just     and      proper.


                                                         STAR          AUTO                GROUP               DEMANDS                           TRIAL               BY JURY


                         Star        Auto          Group          demands              a trial          by jury         on        all    questions              of     fact     raised          in this       case.



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          Dated:   Lake   Success,     New   York

                   May    25,   2023

                                                     MILMAN                 LABUDAKAW                            GROUP                  PLLC




                                                     By:

                                                     Jamie          . F,ersen,              q.
                                                     Joseph              . Labuda,          Esq.
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                                                     Attorneys            for      Plaintiffs,            Star        Auto          Sales         of
                                                     Bayside,            Inc.     d/b/a          Star      Toyota            of     Bayside,
                                                     Star        Auto      Sales       of        Queens,          LLC           d/b/a       Star

                                                     Subaru,              Star        Hyundai                 LLC            d/b/a          Star

                                                     Hyundai,             Star     Nissan,          Inc       d/b/a       Star          Nissan,
                                                     Metro          Chrysler              Plymouth               Inc.           d/b/a       Star
                                                     Chrysler             Jeep       Dodge,              Star         Auto         Sales          of
                                                     Queens             County       LLC         d/b/a     Star         Fiat,       and     Star
                                                     Auto        Sales      of   Queens             Village         LLC           d/b/a     Star
                                                     Mitsubishi




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                                                                         ATTORNEY'S                         VERIFICATION




          STATE              OF NEW           YORK                   )
                                                                     )                 ss.:
          COUNTY                   OF NASSAU                         )


                        JAMIE             S. FELSEN,                 being        duly         sworn,         deposes         and      says:


                        I am a member                    of the     law      firm        of    Milman           Labuda          Law       Group        PLLC,          the     attorneys       for    the


          Plaintiffs          in    the   within         action.         I have         read         the   foregoing            Summons              with    Verified           Complaint            and


          know         the    contents        thereof         to be true            to my            own    knowledge,                except      as to the       matters         therein      stated


          to be alleged              on   information              and      belief,           and     as to those          matters        I believe         it to be true.


                        This        verification           is made          by    me because                the    Plaintiffs           are not       located     within         the      County      of


          Nassau.


                        The         grounds         of    my       belief         as    to     all    matters        not      stated       upon        my       own         knowledge          are    as


          follows:           interview         of    witnesses              and     review            of   documents.


          Dated:        Lake        Success,        New        York

                        May         25,   2023


                                                                                                       MILMAN                 LABUDA              LAW GROUP                       PLLC




                                                                                                       Jamie                  lsen,     Esq.
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                                                                                                       Attorneys        for      Plaintiffs




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